         Case 2:19-cv-10139-JTM-MBN Document 1 Filed 05/07/19 Page 1 of 4



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
                                                               :   JUDGE MILAZZO
                                                               :   MAG. JUDGE NORTH
JUNE D. RITTSCHER,                                             :
                                                               :   COMPLAINT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.: 2:19-cv-10139
vs.                                                            :
                                                               :
ACCORD HEALTHCARE, INC.                                        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                 SHORT FORM COMPLAINT (Effective as of January 4, 2018) 1

         Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on July 25, 2017. Pursuant to Pretrial Order No. 15,

this Short Form Complaint adopts allegations and encompasses claims as set forth in the Amended

Master Long Form Complaint against Defendant(s).

         Plaintiff(s) further allege as follows:

    1.      Plaintiff:

              June D. Rittscher

    2.      Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss of

            consortium):

              N/A


1
         This version of the Short Form Complaint supersedes all prior versions of the form pursuant to
         Pretrial Order No. 73. This Court-approved version of the Short Form Complaint is available
         on the Court’s Taxotere webpage and through MDL Centrality.



                                                         1
     Case 2:19-cv-10139-JTM-MBN Document 1 Filed 05/07/19 Page 2 of 4



3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

            N/A

4.     Current State of Residence:      Florida

5.     State in which Plaintiff(s) allege(s) injury:   Florida

6.     Defendants (check all Defendants against whom a Complaint is made):

       a.         Taxotere Brand Name Defendants

                        A.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                        B.     Sanofi-Aventis U.S. LLC

       b.         Other Brand Name Drug Sponsors, Manufacturers, Distributors

                        A.     Sandoz Inc.

                        B.     Accord Healthcare, Inc.

                        C.     McKesson Corporation d/b/a McKesson Packaging

                        D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                        E.     Hospira, Inc.

                        F.     Sun Pharma Global FZE

                        G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                               Laboratories Ltd.
                        H.     Pfizer Inc.

                        I.     Actavis LLC f/k/a Actavis Inc.

                        J.     Actavis Pharma, Inc.

                        K.     Other:




                                               2
      Case 2:19-cv-10139-JTM-MBN Document 1 Filed 05/07/19 Page 3 of 4



7.      Basis for Jurisdiction:

                 Diversity of Citizenship

                 Other (any additional basis for jurisdiction must be pled in sufficient detail as
                 required by the applicable Federal Rules of Civil Procedure):


8.      Venue:

        District Court and Division in which remand and trial is proper and where you might
        have otherwise filed this Short Form Complaint absent the direct filing Order entered by
        this Court:
                                         Florida Middle District Court, Jacksonville Division


9.      Brand Product(s) used by Plaintiff (check applicable):

                 A.     Taxotere

                 B.     Docefrez

                 C.     Docetaxel Injection

                 D.     Docetaxel Injection Concentrate

                 E.     Unknown

                 F.     Other:

10.     First date and last date of use (or approximate date range, if specific dates are unknown)
        for Products identified in question 9:

            Approximately 08/09/2011 to approximately 11/30/2011.


11.     State in which Product(s) identified in question 9 was/were administered:

            Florida.



12.         Nature and extent of alleged injury (including duration, approximate
            date of onset (if known), and description of alleged injury):

            Permanent/Persistent hair loss on my scalp from approximately
            December 2012 to May 2019 (present). Diffuse thinning of my hair:


                                               3
      Case 2:19-cv-10139-JTM-MBN Document 1 Filed 05/07/19 Page 4 of 4



            top, scalp, back, sides from approximately December 2012 to May
            2019 (present). Diffuse thinning of my hair: top, scalp, back, sides
            from approximately December 2012 to May 2019 (present).
            Significant thinning of the hair on my head from approximately
            December 2012 to May 2019 (present). Permanent/Persistent loss of
            my eyebrows and eyelashes from approximately December 2012 to
            May 2019 (present).

13.         Counts in Master Complaint brought by Plaintiff(s):

                  Count I – Strict Products Liability - Failure to Warn
                  Count III – Negligence
                  Count IV – Negligent Misrepresentation
                  Count V – Fraudulent Misrepresentation
                  Count VI – Fraudulent Concealment
                  Count VII – Fraud and Deceit

                  Other: Plaintiff(s) may assert the additional theories and/or
                  State Causes of Action against Defendant(s) identified by
                  selecting “Other” and setting forth such claims below. If
                  Plaintiff(s) includes additional theories of recovery, for
                  example, Redhibition under Louisiana law or state consumer
                  protection claims, the specific facts and allegations supporting
                  additional theories must be pleaded by Plaintiff in sufficient
                  detail as required by the applicable Federal Rules of Civil
                  Procedure.




                                                 By: /s/ Rand P. Nolen
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                                                     Counsel for Plaintiff(s)




                                             4
